                             UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

In re:                                                   )    Chapter 11
                                                         )
Squirrels Research Labs LLC et al.,1                     )    Case No. 21-61491
                                                         )    (Jointly Administered)
                          Debtors.                       )
                                                         )    Judge Russ Kendig

      NOTICE OF FILING SECOND AND FINAL APPLICATION OF BROUSE
     MCDOWELL, LPA, COUNSEL FOR THE DEBTORS, FOR ALLOWANCE OF
    COMPENSATION FOR PROFESSIONAL SERVICES RENDERED TO DEBTOR,
    SQUIRRELS RESEARCH LABS LLC, AND REIMBURSEMENT OF EXPENSES
       FOR THE PERIOD NOVEMBER 23, 2021, THROUGH AUGUST 26, 2022

         PLEASE TAKE NOTICE THAT on September 8, 2022, Brouse McDowell, LPA,

counsel to the Debtors in the above-captioned Chapter 11 cases, filed its Second and Final

Application for Allowance of Compensation For Professional Services Rendered to Debtor,

Squirrels Research Labs LLC, and Reimbursement of Expenses for the Period November 23, 2021

through August 26, 2022 (the “Application”) requesting the Court’s final approval for allowance

of fees in the amount of $165,644.00 and expenses in the amount of $6,433.46 for the period

November 23, 2021 through August 26, 2022.

         Your rights may be affected. You should read the Application carefully and discuss

it with your attorney, if you have one in these bankruptcy cases. (If you do not have an

attorney, you may wish to consult one.)

         If you do not want the Court to grant the relief requested in the Application, or if you want

the Court to consider your views on the Application, then on or before September 29, 2022, you

or your attorney must file with the Court a written objection explaining your position at:


1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Squirrels Research Labs LLC (9310), case no. 21-61491 and The Midwest Data Company LLC (1213),
case no. 21-61492.




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                                Clerk of Court
                                U.S. Bankruptcy Court
                                Ralph Regula Federal Building
                                   and U.S. Courthouse
                                401 McKinley Avenue, SW
                                Canton, Ohio 44702

You must also serve a copy of your request on the undersigned counsel:

                                Marc B. Merklin
                                Julie K. Zurn
                                Brouse McDowell LPA
                                388 S. Main Street, Suite 500
                                Akron, Ohio 44311

                                Counsel for the Debtors
                                and Debtors-in-Possession

          Objections to the Application should specifically state: (a) the basis for the objection in

the form prescribed by the Federal Rules of Bankruptcy Procedure and the Local Bankruptcy

Rules, (b) whether the objecting party is a creditor of, or interest holder in, the Debtor’s estate and

(c) the nature of the objecting party’s claim or interest.

          If you or your attorney do not take these steps, the Court may grant the relief requested

without conducting a hearing and without further notice to you.

Dated: September 8, 2022                       Respectfully submitted,

                                               /s/ Julie K. Zurn
                                               Marc B. Merklin (0018195)
                                               Julie K. Zurn (0066391)
                                               BROUSE MCDOWELL, LPA
                                               388 S. Main Street, Suite 500
                                               Akron, Ohio 44311
                                               Telephone: (330) 535-5711
                                               Facsimile: (330) 253-8601
                                               mmerklin@brouse.com
                                               jzurn@brouse.com

                                               Counsel for the Debtors
                                               and Debtors-in-Possession

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